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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF VIRGINIA
                        CHARLOTTESVILLE DIVISION

  UNITED STATES OF AMERICA                       )
                                                 )
        v.                                       )      Docket No. 3:03-cr-8
                                                 )
  TADASHI DEMETRIUS KEYES,                       )
           Defendant.                            )


                 EMERGENCY MOTION TO REDUCE SENTENCE
                  PURSUANT TO THE FIRST STEP ACT OF 2018

        In 2004, this Court sentenced Mr. Keyes to life imprisonment for a crime that

  he committed when he was just 18 years old—a sentence that was required because

  the sentencing guidelines were mandatory at the time. Mr. Keyes was convicted of

  two counts after trial by a jury. The first was conspiracy to possess with the intent

  to distribute 50 grams or more of cocaine base, for which he received a sentence of

  life. The second was possession of a firearm during and in relation to a drug

  trafficking crime in violation of 18 U.S.C. § 924(c)(1), for which he received a

  sentence of 120 months, to run consecutively with his life sentence.

        Under the First Step Act of 2018, Mr. Keyes is eligible for a reduction of his

  drug offense sentence, and this Court should reduce his sentence from life to an

  aggregate sentence of 255 months – 135 months for his drug offense, plus 120

  consecutive months for his firearm charge. Mr. Keyes has been in custody since

  September 17, 2002—nearly 17 years. Because such a sentence could result in his

  immediate placement in a halfway house, Mr. Keyes respectfully asks for this

  motion to be considered on an expedited basis.
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                              LEGISLATIVE BACKGROUND

         On December 21, 2018, the First Step Act of 2018 was enacted into law.

  Section 404 of that law made the Fair Sentencing Act of 2010 (“2010 FSA”)

  retroactive to defendants who were sentenced pursuant to mandatory minimum

  penalties that were subsequently altered by the 2010 FSA. That law altered the

  mandatory minimums applicable to crack cocaine offenses, such that the quantity

  sufficient to trigger the five-year mandatory minimum was increased from 5 grams

  of cocaine base to 28 grams of cocaine base, and the quantity sufficient to trigger the

  ten-year mandatory minimum was increased from 50 grams of cocaine base to 280

  grams. Fair Sentencing Act of 2010, Pub. L. No. 111-220, 124 Stat. 2372 (2010).

         Section 404(b) of the First Step Act of 2018 provides that defendants who

  were subjected to mandatory minimum penalties that were subsequently modified

  by the 2010 FSA may file a motion for a reduced sentence. First Step Act of 2018, §

  404(b) (Dec. 21, 2018) (available at: https://www.congress.gov/bill/115th-congress/senate-

  bill/756/text?r=115&s=3).

                              PROCEDURAL BACKGROUND

  1.    On April 8, 2004, a jury convicted Mr. Keyes of one count of conspiracy to

        distribute and possess with intent to distribute 50 grams or more of cocaine

        base, as well as one count of possessing a firearm in connection with a drug

        trafficking crime under 18 U.S.C. § 924(c).

  2.    The presentence report calculated that the applicable drug weight for the

        conspiracy that Mr. Keyes was a part of was 1.5 kilograms of crack cocaine.



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  3.    However, the presentence report applied a cross reference to U.S.S.G. § 2A1.1

        which called for a base offense level of 43 because, as part of the conspiracy,

        one of Mr. Keyes’ co-defendants murdered someone. The presentence report

        also applied an obstruction of justice enhancement of 2 levels because Mr.

        Keyes denied that he had participated in the conspiracy or possessed a

        firearm in his presentence report interview.

  4.    Counsel for Mr. Keyes objected to the drug weight, the murder cross-

        reference, and the obstruction enhancement at sentencing and the district

        court overruled the objections.

  5.    On appeal, the Fourth Circuit affirmed his convictions but vacated his

        sentence for resentencing consistent with United States v. Booker, 543 U.S.

        220 (2005).

  6.    At resentencing, the district court imposed the same sentence and the Fourth

        Circuit upheld the sentence. With respect to the murder cross-reference, the

        Fourth Circuit explained that it was not required that Keyes agree to kill

        anyone because the “murder was reasonably foreseeable to Keyes.” Because

        the life sentence was within the guideline range, it was presumed reasonable

        and it was affirmed.

  7.    Mr. Keyes, who was 19 years old at sentencing, has been incarcerated for this

        offense since September 17, 2002.




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                                       ARGUMENT

        The First Step Act of 2018 made the changes from the Fair Sentencing Act of

  2010 retroactive. Under the Fair Sentencing Act of 2010, Mr. Keyes’ statutory

  maximum for his drug offense (50 grams or more of crack cocaine) would have been

  40 years, and not life imprisonment. As this Court has already decided, it is the

  drug weight of conviction (50 grams or more of crack cocaine) and not the drug

  weight determined to be relevant conduct that determines eligibility for relief under

  the First Step Act. See United States v. Herbert, No. 5:97-cr-30024, 2019 WL

  2718498, at *2 (W.D. Va. June 28, 2019) (“Accordingly, the Court will consider the

  crime of conviction not the conduct reported in the PSR”). This holding accords with

  those made by every other Judge in this district, as well as the vast majority of

  courts across the country. See, e.g., United States v. Ancrum, No. 2-30020, 2019

  WL 2110589, at *3 (W.D. Va. May 14, 2019) (J. Urbanski) (reducing life sentence to

  time served and noting that “although Apprendi and Alleyne are not retroactively

  applicable on collateral review, this court joins other courts in finding that their

  holdings are applicable in the context of the First Step Act”) (collecting cases).

  Therefore, Mr. Keyes is eligible for relief.

        After determining that Mr. Keyes is eligible for relief, this Court is permitted

  to modify a previously imposed term of imprisonment. 18 U.S.C. § 3582(c) provides

  that a court “may not modify a term of imprisonment once it has been imposed”

  except under narrow circumstances. One of which is where modification is




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  “expressly permitted by statute.” 18 U.S.C. § 3582(c)(1)(B). The only limits on this

  Court’s discretion are those within the First Step Act of 2018.

        If the Government takes the same position in this case that it has taken in

  other cases, the Government will argue that the Court should find persuasive the

  constraints that apply to sentence reductions under 18 U.S.C. § 3582(c)(2). That

  section states:

        in the case of a defendant who has been sentenced to a term of imprisonment
        based on a sentencing range that has subsequently been lowered by the
        Sentencing Commission pursuant to 28 U.S.C. 994(o)…the court may reduce
        the term of imprisonment, after considering the factors set forth in section
        3553(a) to the extent that they are applicable, if such a reduction is
        consistent with applicable policy statements issued by the Sentencing
        Commission.

  18 U.S.C. § 3582(c)(2).

        The Government will have no citation or authority for why § 3582(c)(2) is

  persuasive or relevant to the district court’s authority under a wholly separate

  statute. In this case, the Sentencing Commission has not lowered a sentencing

  range, and there are no applicable policy statements issued by the Sentencing

  Commission. Instead, it is the Government’s opinion that the § 3582(c)(2) analysis

  should be employed for First Step Act motions as well.

        However, this analogy fails. Unlike both §§ 3582(c)(1)(A) and (c)(2), section

  404 of the First Step Act and § 3582(c)(1)(B) contain no reference to policy

  statements issued by the Sentencing Commission. In fact, Congress gave the

  Commission no power or authority to issue policy statements regarding the

  circumstances or by what amount a sentence may be reduced through 28 U.S.C. §



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  994(t) or (u). This is a critical difference between the First Step Act and prior

  retroactive drug amendments. There is simply no law, or policy statement, that

  says that the district court shall simply substitute in the Fair Sentencing Act

  guideline amendments and must issue a sentence within that guideline range.

        It is for this reason that the limitations the Government will point to from

  Dillon v. United States, 560 U.S. 817 (2010), also do not apply. Dillon was

  fundamentally a statutory interpretation case. The relevant statute, § 3582(c)(2),

  limited the district court’s authority based on the Sentencing Commission’s policy

  statements in U.S.S.G. §1B1.10. Dillon, 560 U.S. at 828. As a direct result, district

  courts are constrained by § 1B1.10’s instructions in determining both eligibility and

  the extent of the reduction authorized. Dillon cannot be extended to cover a

  different statute and subsection of § 3582(c).

        This Court has already agreed that once someone is eligible for a reduction

  under the First Step Act, the Court must consider the § 3553 sentencing factors to

  determine whether to impose a reduced sentence. The Judges in this district have

  repeatedly found that a sentence beneath the guideline range is appropriate based on

  consideration of these sentencing factors. See, e.g., United States v. Herbert, No.

  5:97-cr-30024, 2019 WL 2718498, at *2 ECF # 261 (W.D. Va. June 28, 2019) (reducing

  324-month low-end of the guideline range sentence to 300 months); United States v.

  Jeffers, No. 5:04-cr-30042 (W.D. Va June 19, 2019) (reducing low-end guideline

  sentence to 181 months); United States v. Grimmond, No. 3:93-cr-70058 (W.D. Va.

  June 19, 2019) (reducing guideline sentence of life to below-guideline sentence of time



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  served); United States v. Ancrum, No. 2-30020, 2019 WL 2110589 (W.D. Va. May 14,

  2019) (reducing life sentence to 240 months, beneath guideline range of 360 to life);

  United States v. Lewis, No. 3:08-cr-39 (W.D. Va. May 8, 2019) (reducing sentence

  below guideline range to time served); United States v. Stanback, No. 5:02-cr-30020,

  2019 WL 1976445 (W.D. Va. May 2, 2019) (reducing sentence below low-end of

  guideline range); United States v. Hairston, No. 4:06-cr-00018, 2019 WL 1049387

  (W.D. Va. Mar. 5, 2019) (reducing guideline sentence of life to below-guideline

  sentence of time served); United States v. Monroe, 3:94-cr-41 (W.D. Va. Feb. 19, 2019)

  (reducing sentence below guideline range to time served).

          Therefore, there should be no question that Mr. Keyes is eligible to be

  considered for a sentence beneath his guideline range which remains life

  imprisonment based on the murder cross reference. The statutory maximum

  sentence this Court could impose for Mr. Keyes drug offense after the Fair

  Sentencing Act would have been 40 years. Therefore at a minimum, this Court

  should reduce Mr. Keyes sentence to 40 years for his drug offense, plus the 120

  consecutive months for his gun offense. But such a sentence would be greater than

  necessary to meet the § 3553 sentencing factors in this case because of (1) his youth

  at the time of the offense, and (2) because he did not directly participate in the

  murder that led to his guideline range of life.

     I.      Mr. Keyes’ Age of 18 During the Offense Supports a Significant Reduction
             in His Sentence

          Mr. Keyes was 19 when he first appeared before this Court for sentencing,

  but he was only 18 when he participated in the drug conspiracy. The Supreme

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  Court has made it clear that juveniles (understood as under the age of 18) are

  different. The Eighth Amendment limits the sentences that can be imposed on

  children. 1 This is because youth are understood to have reduced culpability but also

  greater capacity for reform. This understanding has derived from psychology and

  brain science showing “fundamental differences between juvenile and adult

  minds.” 2 However, contemporary neuroscience and “evolving standards of decency”

  compel extending the same conclusion about individuals under age 18, as for

  someone who was 18 at the time of the offense like Mr. Keyes.Adolescence is a

  “transient” period of “immaturity, irresponsibility, impetuousness, and

  recklessness” that does not end on an 18th birthday. Graham, 560 U.S. at 72.

        For this reason, the Court should consider that sentencing guideline § 5H1.1

  specifically provides that youth “may be relevant in determining whether a

  departure is warranted, if considerations based on age, either individually or in

  combination with other offender characteristics, are present to an unusual degree

  and distinguish the case from the typical cases covered by the guidelines.” A

  significantly below-guideline sentence is warranted in this case because Mr. Keyes’

  age played a significant role in his offense.


  1 Roper v. Simmons, 543 U.S. 551 (2005) (prohibiting execution of children under 18
  at time of offense); Graham v. Florida, 560 U.S. 48, 74-75 (2010) (children convicted
  of non-homicide offenses cannot be sentenced to life without parole and must have
  “realistic” and “meaningful opportunity to obtain release based on demonstrated
  maturity and rehabilitation”); Miller v. Alabama, 567 U.S. 460, 473 (2012);
  Montgomery v. Louisiana, 577 U.S. _, 136 S. Ct. 718, 733 (2016) (affirming that
  Miller extended Graham to even homicide cases except in the rarest of cases where
  the sentence determines the particular child “exhibits such irretrievable depravity
  that rehabilitation is impossible”).
  2 Graham, 560 U.S. at 68.


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           Miller holds that the “distinctive attributes of youth” are not “crime-specific,”

  but apply even to adolescents who “commit terrible crimes,” and identifies “three

  significant gaps between juveniles and adults:”

           •   Adolescents’ “lack of maturity” and “underdeveloped sense of
               responsibility” engender “recklessness, impulsivity, and heedless risk-
               taking.”
           •   Adolescents are more susceptible to negative environmental influences
               and pressures, “including from their family and peers,” in part because
               adolescents “have limited control over their own environment and lack the
               ability to extricate themselves from horrific, crime-producing settings.”
           •   Adolescents are more likely to change: “a child’s character is not as well-
               formed as an adult’s, his traits are less fixed and his actions are less likely
               to be evidence of irretrievable depravity.” 3

  Roper, Graham, and Miller all relied heavily on then-available advances in

  neuroscience which documented the highly significant neurobiological differences

  between adolescent and adult brains. “Our decisions rested not only on common

  sense—on what ‘any parent knows’—but on science and social science as well.” 4

  Current developments in neuroscience, many of which were not available when

  Roper, Graham, and Miller were decided, conclusively demonstrate that the same

  neurobiological “transient qualities of youth” last beyond the age of 17. The

  adolescent brain does not magically mature on its eighteenth birthday. This fact is

  significant because the adolescent brain is so different from the adult brain.

           Research pioneered by Dr. Laurence Steinberg, Distinguished University

  Professor of Psychology, Temple University, demonstrates that the human brain




  3   Miller, 567 U.S. at 471.
  4   Id.

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   undergoes a “massive reorganization” during the teenage years. These changes are

   both structural and functional and make adolescence a stage of life biologically

   distinct from childhood and adulthood. 5 Although the brain’s logical capabilities are

   generally fully formed at 16, the systems controlling more complex judgments—

   such as risk/reward evaluations, responses to environmental stressors, and impulse

   control—do not completely develop until the mid-twenties. 6

         As the adolescent brain matures, it undergoes a temporary developmental

   imbalance between two neurobiological systems: the limbic system, associated with

   emotions and reward-seeking, and the prefrontal regulatory system, which governs

   rational judgment and impulse control. 7 During early and middle adolescence, the

   limbic system experiences a “rapid and dramatic increase in dopaminergic activity,”

   causing a marked increase in reward seeking, sensation seeking, and accompanying




   5 Laurence Steinberg, A Behavioral Scientist Looks at the Science of Adolescent
   Brain Development, 72 Brain & Cognition 160, 160 (2010) [hereinafter Steinberg,
   Behavioral Scientist]; see Laurence Steinberg, Adolescent Development and Juvenile
   Justice, 5 Ann. Rev. Clinical Psychol. 459, 465 (2009) [hereinafter Steinberg,
   Adolescent Development].
   6 See, e.g., Nat’l Research Council, Comm. on Assessing Juvenile Justice Reform,

   Reforming Juvenile Justice: A Developmental Approach 132 (Richard J. Bonnie et
   al. eds., 2013); Elizabeth Cauffman & Laurence Steinberg, (Im)maturity of
   Judgment in Adolescents: Why Adolescents May Be Less Culpable Than Adults, 18
   Behav. Sci. & L. 741, 744 (2000).
   7 See, e.g., Nat’l Research Council, supra note 6, at 2; Steinberg, Adolescent

   Development, supra note 5, at 466-65; Alison Gopnik, What’s Wrong With the
   Teenage Mind, Wall St. J., Jan. 28, 2012.

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   risky behavior. 8 The reward centers of the adolescent brain are more active than

   those of adults, leading to an overestimation of rewards versus risks. 9

             At the same time, “compelling neurobiological evidence” demonstrates that

   the brain’s regulatory system undergoes a more gradual, linear maturation over the

   course of adolescence. 10 This means that adolescents have a qualitatively higher

   neurological inclination to engage in risky activity, while at the same time they

   have a qualitatively lower ability to control impulses or accurately assess future

   consequences. “Adolescents develop an accelerator a long time before they can steer

   and brake.” 11 The ability to regulate and assess increases gradually as adolescents

   age. 12

             Studies further show that emotionally-charged situations exacerbate this

   discrepancy, leaving teenagers—especially young men—even less able to exercise

   the regulatory functions of the brain in the very contexts when those moderating

   functions are most needed. While young men may be good at “cold reasoning,” their




   8 Steinberg, Adolescent Development, supra note 5, at 466; see Nat’l Research
   Council, supra note 6, at 97-98; Gopnik, supra note 7.
   9 See, e.g., Gopnik, supra note 7; David Dobbs, Beautiful Brains, Nat’l Geographic

   Mag., Oct. 2011.
   10 Steinberg, Adolescent Development, supra note 5, at 466; see, e.g., Nat’l Research

   Council, supra note 6, at 92, 96-99; Laurence Steinberg, A Social Neuroscience
   Perspective on Adolescent Risk-Taking, 28 Dev. Rev. 78, 83 (2008) [hereinafter
   Steinberg, Risk-Taking].
   11 Gopnik, supra note 7.
   12 See, e.g., Laurence Steinberg, A Dual Systems Model of Adolescent Risk-Taking,

   52 Developmental Psychobiology 216 (2010); Charles Geier & Beatriz Luna, The
   Maturation of Incentive Processing and Cognitive Control, 93 Pharmacology,
   Biochemistry, & Behav. 212, 215-18 (2009).

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   ability to reason at times of stress and excitement—“hot reasoning”—remains

   undeveloped and immature. 13

         Ultimately, this developmental imbalance explains why “adolescence is a

   time of inherently immature judgment.” 14 Although teenagers might seem as

   intelligent as adults, “their ability to regulate their behavior in accord with these

   advanced intellectual abilities is more limited.” 15 Adolescents overvalue immediate

   rewards and are less future-oriented compared to adults; they are more impulsive,

   more susceptible to emotion and stress, and less likely to perceive the consequences

   of their actions, especially negative ones. 16 In summary, adolescents and people in

   their early 20s are:




   13 See, e.g., Nat’l Research Council, supra note 6, at 92-93; Bernard Figner et al.,
   Affective and Deliberative Processes in Risky Choice, 35 J. Experimental Psychol.
   709, 709 (2009). Anatomically, these changes can be explained as follows. The brain
   experiences a loss of “gray matter”—the shedding of excess, unused synaptic
   connections—and a gradual increase in “white-matter,” a coating of myelin which
   speeds neural-transmission. See, e.g., M.R. Asato et al., White Matter Development
   in Adolescence: A DTI Study, 20 Cerebral Cortex 2122 (2010); Dobbs, supra note 9;
   Geier & Luna, supra note 12, at 215-16 ; Steinberg, Adolescent Development, supra
   note 5, at 466. Together, the reduction in gray matter and the increase in white
   matter improves the efficiency and connectivity of neural signaling in the prefrontal
   cortex and among multiple regions of the brain. See, e.g., Nat’l Research Council,
   supra note 6, at 99; Geier & Luna, supra note 12, at 215-16; Steinberg, Risk-Taking,
   supra note 10, at 93-95. These functional changes are associated with improved
   “response inhibition, planning ahead, weighing risks and rewards, and the
   simultaneous consideration of multiple sources of information.” Steinberg, Risk-
   Taking, supra note 10, at 94; see, e.g., Nat’l Research Council, supra note 6, at 99;
   Asato et al., supra, at 2123; Geier & Luna, supra note 12, at 215
   14 Steinberg, Adolescent Development, supra note 5, at 467.
   15 Id.
   16 Id. at 468-70; Human Rights Watch & Amnesty Int’l, The Rest of Their Lives: Life

   Without Parole for Child Offenders in the United States 46 (2005).

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         •   More likely than adults to underestimate the number, seriousness, and
             likelihood of risks involved in a given situation;
         •   Prone to engage in what psychologists call “sensation-seeking”—the
             pursuit of arousing, rewarding, exciting or novel experiences;
         •   Less able to control their impulses and consider the future consequences
             of their actions and decisions;
         •   More socially and emotionally immature than their intellectual maturity
             would suggest.

         Courts have begun extending the Eighth Amendment protections of Roper,

   Graham, Miller, and Montgomery to young adults. For example, a trial court in

   Kentucky declared the death penalty unconstitutional for offenders under 21. 17 The

   court reasoned that “given the national trend toward restricting the use of the death

   penalty for young offenders, and given the recent studies by the scientific

   community, the death penalty would be an unconstitutionally disproportionate

   punishment for crimes committed by individuals under twenty-one (21) years of age

   [at the time of the offense].” 18 A New Jersey appellate court similarly relied on

   Miller to support its decision to remand for resentencing a 75-year aggregate

   sentence imposed for murder committed by a 21-year-old defendant, reasoning that

   where the sentence is the practical equivalent of life without parole, courts must




   17 See Commonwealth v. Bredhold, No. 14-CR-161, Order Declaring Kentucky’s
   Death Penalty Statute as Unconstitutional (Fayette [Ky.] Cir. Ct. Aug. 1, 2017)
   (Scorsone, J.).
   18 Id. (relying heavily on brain science-related testimony to conclude that the death

   penalty is a disproportionate punishment for offenders younger than 21 because
   such individuals are categorically less culpable and have a better chance at
   rehabilitation); see also Commonwealth v. Diaz, No. 15-CR-584-001, Order
   Declaring Kentucky’s Death Penalty Statute as Unconstitutional (Fayette [Ky.] Cir.
   Ct. Sept. 6, 2017) (Scorsone, J.).

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   “consider at sentencing a youthful offender’s failure to appreciate risks and

   consequences as well as other factors often peculiar to young offenders.” 19

         The American Bar Association has relied upon this change in neuroscience as

   the reason for its Resolution 111, which “urges each jurisdiction that imposes

   capital punishment to prohibit the imposition of a death sentence on or execution of

   any individual who was 21 years or younger at the time of the offense.” 20 The

   resolution explains its rationale as based on “findings [that] demonstrate that 18 to

   21 year olds have a diminished capacity to understand the consequences of their

   actions and control their behavior in ways similar to youth under 18.” 21

   “Additionally, research suggests that late adolescents, like juveniles, are more

   prone to risk-taking and that they act more impulsively than older adults in ways

   that likely influence their criminal conduct.” 22 Nor are “18 to 21 year olds…fully



   19 State v. Norris, No. A-3008-15T4, 2017 WL 2062145, at *5 (N.J. Super. Ct. App.
   Div. May 15, 2017); see also Cruz v. United States, No. 11-CV-787 (JCH), 2017 WL
   3638176 (D. Conn. April 3, 2017) (granting defendant’s motion for a hearing on a §
   2255 motion, concluding that he raised an issue of material fact as to whether a
   youth of 18 years and 20 weeks is legally and developmentally a child such that his
   mandatory life-without-parole sentence violates the Eighth Amendment).
   20 American Bar Association Resolution 111, available at

   https://www.americanbar.org/content/dam/aba/images/abanews/mym2018res/111.pd
   f [hereinafter ABA Resolution].
   21 Id. (citing Jeffrey Arnett, Reckless Behavior in Adolescence: A Developmental

   Perspective, 12 Developmental Rev. 339, 343 (1992); Kathryn L. Modecki,
   Addressing Gaps in the Maturity of Judgment Literature: Age Differences and
   Delinquency, 32 L. & Hum. Behav. 78, 79 (2008) (“In general, the age curve shows
   crime rates escalating rapidly between ages 14 and 15, topping out between ages 16
   and 20, and promptly deescalating.”)).
   22 Id. (citing Elizabeth S. Scott et al., Young Adulthood as a Transitional Legal

   Category: Science, Social Change, and Justice Policy, 85 Fordham L. Rev. 641, 644
   (2016)).

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   mature enough to anticipate future consequences.” 23 Furthermore, “profound

   neurodevelopmental growth continues even into a person’s mid to late twenties.” 24

   The resolution cited to a study sponsored by the National Institute of Mental Health

   which tracked the brain development of 5,000 children and discovered their brains

   were not fully mature until at least 25 years of age. 25

         The national consensus now recognizes that youth does not end at 18. The

   United States Sentencing Commission, for example, issued a report in 2017,

   Youthful Offenders in the Federal System, Fiscal Years 2010 to 2015 (“The Youthful

   Offenders Report”) that affirms this view. The Commission, based on “recent case

   law and neuroscience research,” redefined “youthful offender” to include offenders

   “25 years old and younger:”

         Traditionally, youthful offenders often have been defined as those under the
         age of 18, but for purposes of this study, the Commission has defined youthful
         offenders as a federal offender 25 years old or younger at the time of
         sentencing. The inclusion of young adults in the definition of youthful
         offenders is informed by recent case law and neuroscience research in which
         there is a growing recognition that people may not gain full reasoning skills
         and abilities until they reach age 25 on average. 26

         Multiple federal statutes now recognize that 20 year olds lack the full

   maturity of adulthood. The Foster Care Act of 2008, permits states to define “child”


   23 Id. (citing Laurence Steinberg et al., Age Differences in Future Orientation and
   Delay Discounting, 80 Child Dev. 28, 35 (2009)).
   24 Id. (citing Christian Beaulieu & Catherine Lebel, Longitudinal Development of

   Human Brain Wiring Continues from Childhood into Adulthood, 27 J. Neuroscience
   31 (2011); A. Pfefferbaum et al., Variation in Longitudinal Trajectories of Regional
   Brain Volumes of Healthy Men and Women (Ages 10 to 85 Years) Measured with
   Atlas-Based Parcellation of MRI, 65 NeuroImage 176 (2013)).
   25 Id. (citing N. Dosenbach et al., Prediction of Individual Brain Maturity Using

   fMRI, 329 Science 1358 (2011)).
   26 The Youthful Offenders Report, at *5.


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   as “an individual . . . who has not attained 19, 20 or 21 years of age.” The Gun

   Control Act of 1968 prohibits individuals under age 21 from purchasing handguns.

   18 U.S.C. §§ 922(b)(1), (c)(1). The National Minimum Drinking Age Act of 1984

   prohibits those under 21 from purchasing alcohol. 23 U.S.C. § 158.

         State legislatures have responded to the advances in neuroscience by

   affording greater protections to youthful offenders who have passed their 18th

   birthday. “[A]s of 2016, all fifty states and the District of Columbia recognized

   extended age jurisdiction for juvenile courts beyond the age of 18, in comparison to

   only 35 states in 2003.” Cruz, 2017 WL 3638176, at *56. “Between 2016 and 2018, 5

   states and 285 localities raised the age to buy cigarettes from 18 to 21.” Id. The

   majority of states now set 21 as the line at which children age out of foster care. 27




   27Alabama, Ala. Code § 38-7-2(1); Alaska, Alaska Stat, § 47.10.080(c); Arizona,
   Ariz. Rev.Stat. Ann. § 8-501(B); California, Cal. Welf. & Inst. Code § 303(a);
   Colorado, Colo. Rev.Stat. § 19-3-205(2)(a); Connecticut, Conn. Gen. Stat. Ann. § 17a-
   93(a); Delaware, Del. Code Ann. tit. 10, § 929(a); Washington, D.C., D.C. Code Ann.
   § 16-2303; Florida, Fla. Stat. Ann. § 39.013(2); Georgia, Ga. Code Ann. § 15-11-
   2(10)(c); Idaho, Idaho Code Ann. §§39-1202(3) & (9); Illinois, Ill. Comp. Stat. Ann. §
   405/2-31(1); Indiana, Ind. Code Ann. §31-28-5.8-5(a); Kansas, Kan. Stat. Ann. § 38-
   2203(c); Kentucky, Ky. Rev. Stat. § 620.140(1)(d)-(e); Maryland, Md. Code Ann., Cts.
   & Jud. Proc. § 3-804(b); Michigan, Mich. Comp. Laws Ann. § 772.981-85; Minnesota,
   Minn. Stat. Ann. § 260C.451; Mo. Ann. Stat. §110.04 (12); Nebraska, Neb. Rev. Stat.
   Ann. §§ 43-905 & 43-4502; Nevada, Nev. Rev. Stat. Ann. § 432B.594; New
   Hampshire, N.H. Rev. Stat. Ann. § 169-C:4; New Jersey, N.J. Stat. Ann. § 30:4C-
   2.3; New York, N.Y. Fam. Ct. Act § 1087(a); Ohio, Ohio Rev. Code Ann. §2151.81;
   Oregon, Or. Rev. Stat. Ann. § 419B.328; Pennsylvania, 42 Pa. Const. Stat. Ann.
   §6302; South Dakota, S.D. Codified Laws § 26-6-6.1; Tennessee, Tenn. Code Ann.
   §§37-1-102(4)(G) & 37-2-417(b); Texas, Tex. Fam. Code Ann. § 263.602; Virginia, Va.
   Code Ann. § 63.2-905.1; Washington, Wash. Rev. Code Ann. § 74.13.031(16); West
   Virginia, W. Va. Code Ann. § 49-2B-2(x); and Wyoming, Wyo. Stat. Ann. § 14-3-
   431(b).

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   Other states that do not establish the line at 21, nevertheless set it above 18. 28

   Vermont sets it at age 22. 29

         There are a plethora of nationwide initiatives designed to protect late

   adolescents who have passed their 18th birthday. “Young Adult Courts” have been

   created in San Francisco, CA (begun 2015 for age 18-25); Omaha, NE (up to age 25);

   Kalamazoo County, MI (begun in 2013 for age 17-20); Lockport City, NY; and New

   York, NY (begun 2016 for age 18-20). The Youthful Offender Report details

   probation/parole programs, programs led by prosecutors, community-based

   programs, hybrid programs, and prison programs all reflecting the national,

   nonpartisan recognition that late adolescents should not be subject to the full brunt

   of adult criminal penalties. Id. at *25-29, 30-40.

         Finally, the ABA Resolution mentioned above cites additional evidence that

   community standards have evolved, including some of the examples presented

   above. 30 In addition, the resolution notes that many rental car companies set

   minimum rental ages at 20 or 21, with higher rental fees for individuals under age

   25. 31 Under the Free Application for Federal Student Aid (FAFSA), the Federal


   28 Maine, (age twenty), Maine Rev. Stat. tit. 22, §§ 4037-A(1) & (5); New Mexico,
   (age nineteen), N.M. Stat. Ann. § 32A-4-25.3; Wisconsin, (age nineteen), Wis. Stat.
   Ann. §48.355(4).
   29 Vt. Stat. Ann. tit. 33, § 4904 (age twenty-two).
   30 ABA Resolution, supra note 20, at 7-9.
   31Id. (citing What are Your Age Requirements for Renting in the US and Canada,

   Enterprise.com, https://www.enterprise.com/en/help/faqs/car-rental-under-25.html
   (last visited July 8, 2019); Restrictions and Surcharges for Renters Under 25 Years
   of Age, Budget.com,
   https://www.budget.com/budgetWeb/html/en/common/agePopUp.html (last visited
   July 8, 2019); Under 25 Car Rental, Hertz.com,

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   Government considered individuals under the age of 23 legal dependents of their

   parents. 32 Relatedly, the Internal Revenue Service allows students under 24 to be

   dependents for tax purposes and the Affordable Care Act allowed individuals under

   26 to remain on their parents’ health insurance. 33

      II.       A below-guideline sentence is consistent with Mr. Keyes’ role in the
                offense and his nature and characteristics.

            Mr. Keyes seeks a sentence within his drug weight guideline range that

   would apply today. Given the above information about the developing brain of

   adolescents, and given that Mr. Keyes was 18 at the time of the offense, this Court

   should consider Mr. Keyes’ age a mitigating factor that militates in favor of a low-

   end sentence.

            Furthermore, while the Fourth Circuit upheld the murder guideline cross-

   reference in his case, this Court should consider that Mr. Keyes did not commit the

   murder himself and that three of the other co-defendants, who were part of the

   same conspiracy and therefore responsible for the same murder under the theory of

   conspiracy liability, have all been released:

            •   Marlon Dale Daniel, released on September 13, 2012 (age 56)
            •   Alonzo William Trice, released on February 12, 2016 (age 61)
            •   James Allen Cain, III, released on October 30, 2015 (age 50)


   https://www.hertz.com/rentacar/misc/index.jsp?targetPage=Hertz_Renting_to_Drive
   rs_Under_25.jsp (last visited July 8, 2019)).
   32 Id. (citing Dependency Status, Federal Student Aid,

   https://studentaid.ed.gov/sa/fafsa/fillingout/dependency (last visited Sept. 21, 2017).
   59 (last visited July 8, 2019)).
   33 Id. (citing 26 U.S.C. § 152 (2008); 42 U.S.C. § 300gg-14 (2017); Dependents and

   Exemptions 7, I.R.S, https://www.irs.gov/faqs/filing-requirements-statusdependents-
   exemptions/dependents-exemptions/dependents-exemptions-7 (last visited July 8,
   2019)).
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   The only other defendant who remains incarcerated is Gregory Felton, who also

   went to trial. Unlike Mr. Keyes, however, the jury found Mr. Felton guilty of

   personally using a firearm to commit the murder that enhanced Mr. Keyes

   guideline range.

         It is appropriate for Mr. Keyes to serve a longer sentence than his co-

   defendants who pled guilty, but a sentence to the low-end of his guideline range

   would more than account for his decision to go to trial. Mr. Keyes’ decision to go to

   trial was one he made at the age of 18, and without any real experience in the

   criminal justice system. Prior to this offense, Mr. Keyes had a juvenile offense for

   damaging private property (at age 16) and juvenile probation violations for using

   marijuana. To no surprise, the co-defendants who were older, and with experience

   in the criminal justice system, did not make the reckless decision to go to trial. Mr.

   Keyes was 15 years younger than Mr. Cain, 21 years younger than Mr. Daniel, and

   26 years younger than Mr. Trice. Only Mr. Felton and Mr. Keyes, recruited to the

   conspiracy as children, remain incarcerated.

         It would be appropriate to sentence Mr. Keyes to a sentence within the drug

   weight guideline range that would apply today for his drug weight of 1.5 kg of

   cocaine base. A base offense level of 32, with no points for acceptance of

   responsibility, would result in a guideline range of 135-168 months. While Mr.

   Keyes received an enhancement for obstructing justice at the time of his original

   sentencing, those points were added because he said he was innocent during a time

   when he was appealing his sentence. The low-end of this guideline range, or 135



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   months, plus the 120 consecutive months for his gun offense, would lead to a

   sentence of 255 months or 21.25 years.

            The most recent United States Sentencing Commission 2018 Annual Report

   about sentencing confirms that only 36% of sentences for drug offenses are within

   the guideline range. 34 The rest are lower than the guideline range. Even for

   sentences under the guideline range for murder, § 2A1.1, district courts sentence

   defendants below the guideline range 60% of the time. A sentence of 255 months is

   sufficient but not greater than necessary for Mr. Keyes.



                                                   Respectfully submitted,

                                                   Tadashi Keyes

                                                   By Counsel

                                                   /s Lisa M. Lorish
                                                   Lisa M. Lorish (VSB No. 81465)
                                                   Assistant Federal Public Defender
                                                   Office of the Federal Public Defender
                                                   401 E. Market St, Ste 106
                                                   Charlottesville, VA 22902
                                                   Tel (434) 220-3380



                                CERTIFICATE OF SERVICE

           I hereby certify that on July 9, 2019, I electronically filed the foregoing with
   the Clerk of Court using the CM/ECF system, which will send a notification of such
   filing (ECF) to all parties of record

                                                   /s Lisa M. Lorish
                                                   Lisa M. Lorish (VSB No. 81465)


   34   https://www.ussc.gov/research/sourcebook-2018 (last accessed July 8, 2019)
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                                             Assistant Federal Public Defender
                                             Office of the Federal Public Defender
                                             401 E. Market St, Ste 106
                                             Charlottesville, VA 22902
                                             Tel (434) 220-3380




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